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w        12
~.~~     13                               UNITED STATES DISTRICT COURT
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w        14            CENTRAL DISTRICT OF CALIFORNIA,WESTERN DIVISION
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         16 WEBMAGIC VENTURES,LLC,a                          Case No. 2:18-cv-5933-PA-AS
            California limited liaiblity company,
w        17                                                 Hon. Percy Anderson — Crtrm. 9A
                         Plaintiff,
         18
                                                            DECLARATION OF AARON
         19                                                 CROFT IN SUPPORT OF
            DEUX RON,INC., a Tennessee                      PLAINTIFF WEBMAGIC
         20 corporation; RON HENSLEY,an                     VENTURES,LLC'S OPPOSITION
            individual; and ERIC HENSLEY,an                 TO DEFENDANTS'MOTION TO
         21 individual,                                     DISMISS PURSUANT TO RULES

         22                        Defendants.              AL~TERNATBIVE,~TO TRANSFER
                                                            VENUE UNDER 28 U.S.C.§§ 1404,
         23                                                 1406,1631

         24
                                                            Date:         August 27, 2018
         25                                                 Time:         1:30 p.m.
                                                            Place:        Courtroom 9A
         26
         27
         28
              14038.16:9315641.1                        1                     Case No. 2:18-cv-5933-PA-AS
                   DECLARATION OF AARON CROFT IN SUPPORT OF PLAINTIFF WEBMAGIC VENTURES,LLC'S
                  OPPOSITION TO DEFENDANTS' MOTION TO DISMISS, OR IN THE ALTERNATIVE,TO TRANSFER
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   1                                 DECLARATION OF AARON CROFT
   2            I, Aaron Croft, declare as follows:
   3            1.          I am an employee of WebMagic Ventures, LLC.I am making this
   4 declaration in support ofPlaintiff's Opposition to Defendants' Motion to Dismiss, or
   5 in the Alternative, to Transfer Venue, as captioned above. Unless otherwise stated, I
   6 have personal and first-hand knowledge ofthe facts set forth in this declaration, and
   7 I could and would testify competently to such facts if called as a witness.
   8            2.          I live in West Covina, a city ofLos Angeles County, California.
   9            3.          On July 30, 2018 I conducted three transactions ("first","second", and
  10 "third" "transaction(s)") on the website www.gatlinburgarcade.com ("website").
  11            4.          In a first transaction I created a profile on the website and through that
  12 profile signed up for a mailing list which requested both my physical and electronic
  13 mailing addresses.
  14            5.          In a second transaction I selected the "purchase as guest" feature. I
  15 added an Arcadia card to my shopping cart and was required to supply both my
  16 physical and electronic mailing addresses and select a shipping option before I was,
  17 allowed to complete the transaction. After completion ofthe transaction a
  18 confirmation screen appeared and gave no indication that the card would not be
  19 shipped. Sometime after this transaction I received an email receipt stating that the
  20 card would not be shipped.
  21            6.          In a third transaction, following completion ofthe second transaction I
  22 was encouraged to post about Arcadia cards on social media. I clicked on a link of
  23 the website which automatically facilitated posting about the Arcadia cards to
  24 Google+.
  25            7.          E~ibits 1-21 are a true and accurate screenshot that I took from the
  26 ~ ~ website in the course of conducting the transactions above.
  27            8.          E~ibits 1 and 2 show pages of the website having the term ARCADIA
  28 at the top ofthe page and an image of an arcade below.
       14038.16:9315641.1                                 1           Case No. 2:18-cv-5933-PA-AS
            DECLARATION OF AARON CROFT IN SUPPORT OF PLAINTIFF WEBMAGIC VENTURES,LLC'S
           OPPOSITION TO DEFENDANTS' MOTION TO DISMISS,OR IN THE ALTERNATIVE,TO TRANSFER
     Case 2:18-cv-05933-PA-AS Document 20-1 Filed 08/06/18 Page 3 of 50 Page ID #:129



        1            9.          E~ibits 3 — 5 show the website page offering the Arcadia cards for
        2 sale.
        3             10.        Exhibits 6 — 10 show the website pages encountered and forms required
        4 to be completed in order to conduct the first transaction.
        5             1 1.       Exhibit 11 shows an Arcadia card added to the shopping cart ofthe
        6 profile created in the first transaction.
        7             12.        Exhibits 12 — 17 show the website pages encountered and forms
        8 required to be completed in order to conduct the second transaction.
        9             13.        Exhibits 18— 21 show the website pages encountered in conducting and
~~     10 completing the third transaction.
a
       11             14.        Exhibit 22 is a true and accurate screenshot that I took ofthe email I
w      12 received after I completed the first transaction.
       13             15.        Exhibit 23 is a true and accurate screenshot that I took ofthe email that
z
w      14 I received after I completed the second transaction.
z
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V      15            I declare under penalty of perjury under the laws ofthe United States of
z
       16 America that the foregoing is true and correct, and that this declaration was executed
w      17 on August 3, at Los Angeles County, California.
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            14038.16:9315641.1                        2                     Case No. 2:18-cv-5933-PA-AS
                 DECLARATION OF AARON CROFT IN SUPPORT OF PLAINTIFF WEBMAGIC VENTURES,LLC'S
                OPPOSITION TO DEFENDANTS' MOTION TO DISMISS, OR IN THE ALTERNATIVE,TO TRANSFER
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                                EXHIBIT 1




                                EXHIBIT 1
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                                EXHIBIT 2




                                EXHIBIT 2
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                                EXHIBIT 3




                                EXHIBIT 3
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                                EXHIBIT 4




                                EXHIBIT 4
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                                EXHIBIT 5




                                EXHIBIT 5
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                                EXHIBIT 6




                                EXHIBIT 6
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                                EXHIBIT 7




                                EXHIBIT 7
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                                EXHIBIT 8




                                EXHIBIT 8
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                                EXHIBIT 9




                                EXHIBIT 9
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                               EXHIBIT 10




                               EXHIBIT 10
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                               EXHIBIT 11




                               EXHIBIT 11
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                               EXHIBIT 12




                               EXHIBIT 12
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                               EXHIBIT 13




                               EXHIBIT 13
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                               EXHIBIT 14




                               EXHIBIT 14
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                               EXHIBIT 15




                               EXHIBIT 15
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                               EXHIBIT 16




                               EXHIBIT 16
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                               EXHIBIT 17




                               EXHIBIT 17
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                               EXHIBIT 18




                               EXHIBIT 18
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                               EXHIBIT 19




                               EXHIBIT 19
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                               EXHIBIT 20




                               EXHIBIT 20
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                               EXHIBIT 21




                               EXHIBIT 21
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                               EXHIBIT 22




                               EXHIBIT 22
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                               EXHIBIT 23




                               EXHIBIT 23
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    1                               CERTIFICATE OF SERVICE
    2                         CENTRAL DISTRICT OF CALIFORNIA
    3                        WebMagic Ventures LLC v. Deux Ron, Inc., et al.
    4                                   Case No.: 2:18-cv-PA-AS
    5       The undersigned certifies that on August 6 2018,the following documents
      and all related attachments("Documents") were ~iled with the Court using the
    6 CMlECF system.
    7            DECLARATION OF AARON CROFT IN SUPPORT OF PLAINTIFF
                 WEBMAGIC VENTURES,LLC'S OPPOSITION TO DEFENDANTS'
    8                                                         ~i73),.OR
                 NTHE ALTERNATVE,O  STRANSFER VENUE U BNDER 2g S
    9            §§ 1404,1406, 1631
   10        Pursuant to L.R. 5-3.2, all parties to the above case and/or each attorneys of
      record herein who are registered users are being served with a copy of these
   11 Documents via the Court s CM/ECF system. Any other parties and/or attorneys of
      record who are not registered users from the following list are being served by first
   12 class mail.
   13                                         By:         /s/ Russell M. Belmont
                                                    Russell M. Belmont
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        14038.16:9315641.1                                             Case No. 2:18-cv-5933-PA-AS
             DECLARATION OF AARON CROFT  IN SUPPORT OF PLAINTIFF WEBMAGIC  VENTURES,LLC'S
            OPPOSITION TO DEFENDANTS' MOTION TO DISMISS,OR IN THE ALTERNATNE,TO TRANSFER
